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                                           UNITED STATES DISTRICT COURT

                                           MIDDLE DISTRICT OF LOUISIANA

           STACEY WILLIAMS                                                                CIVIL ACTION NO.

           VERSUS                                                                         18-1020-EWD

           MAGNOLIA CAFÉ, ET AL.                                                          CONSENT

                                                     RULING AND ORDER

                   Before the Court is a Motion to Quash Subpoenas to Produce Documents, Information, or

           Objects or to Permit Inspection of Premises in a Civil Action (the “Motion”), 1 filed on behalf of

           Jason Hannaman (“Hannaman”), Executive Director of the Louisiana State Police Commission.

           The Motion seeks to quash subpoenas issued by Stacey Williams (“Plaintiff”) in this case and

           served on Hannaman on or about November 18, 2020. As Plaintiff has not responded to the

           Motion, it will be considered unopposed. 2 Additionally, because the Motion represents that the

           subpoenas seek documents over which the Louisiana State Police Commission (“LPSC”) either

           has no custody or control, or documents that do not exist at the LSPC, the Motion will be granted.

                   Plaintiff formerly worked for Magnolia Café in St. Francisville, Louisiana for about six

           months. On November 16, 2018, Plaintiff filed her Complaint pro se in this Court, claiming that,

           Defendants Magnolia Café, Skye Willis, Robin Marshall and Mary Daniel discriminated against

           her during her employment on the basis of her race in violation of Title VII of the Civil Rights Act

           of 1964. 3 In connection with her claims, Plaintiff demands “punitive damages wages owed” and




           1
             R. Doc. 104.
           2
             The Motion was filed on November 19, 2020. Pursuant to Local Civil Rule 7(f), any response to the Motion was
           required to be filed within twenty-one days after service. The Motion states that it was mailed to Plaintiff at her
           address of record on November 19, 2020. R. Doc. 104, p. 3. Almost sixty days have passed since the Motion was
           served.
           3
             R. Doc. 1, p. 1.




S. Williams Certified Return Receipt Requested no. 7020 1810 0000 5305 6237
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“max dollar amount for discrimination,” a public apology for herself, and an apology to other

employees who have experienced discrimination by Defendants. 4

         The subpoenas at issue seek production of the following documents from LSPC: a copy of

the Louisiana driver’s license and all information on file at LPSC for Skye Willis; a copy of the

Louisiana driver’s license or ID card and all information on file at LPSC for Virginia Skye Walters

Willis; a copy of the Louisiana driver’s license Mary Daniel; and a copy of the Louisiana driver’s

license or ID card and all information on file at LPSC for Robin Marshall. 5 First, it does not appear

that these subpoenas were properly served as the Motion indicates the subpoenas were mailed via

certified mail to the office of LPSC. 6 The Court has previously explained to Plaintiff that

subpoenas that are not personally served are invalid. 7 Additionally, the subpoenas command

production of the documents requested on November 25, 2020, which is after the close of fact

discovery in this case. 8 Finally, according to the information in the Motion, the subpoenas seek

information that is not maintained by LPSC. 9

         A subpoena that subjects a party to undue burden must be quashed or modified 10 It is not

only unduly burdensome, but impossible, to require an entity to produce documents that it has

represented through counsel, subject to Fed. R. Civ. Proc. 11, that it does not possess. Further, to

the extent the subpoenas were timely and appropriately propounded, the Motion adequately



4
  R. Doc. 1, p. 2. Plaintiff’s civil cover sheet references a demand of “$40,000 plus max discrimination.” R. Doc. 1-
2, p. 1.
5
  R. Doc. 104-1.
6
  R. Doc. 104, p. 1, n.1.
7
  See R. Doc. 36, pp. 1-2.
8
  According to the Amended Scheduling Order, fact discovery had to be completed by November 24, 2020. R. Doc.
85. Under Local Civil Rule 26(d)(2), written discovery is not timely unless the response to that discovery would be
due before the discovery deadline.
9
  “The Louisiana State Police Commission (‘LPSC’) was created to administer and regulate the classified state police
service (La. Constitution Art. 10, §§ 43-51). This entity has no authority over the administrative of Louisiana Driver’s
Licenses, nor does it have records of Louisiana citizens’ drivers’ licenses or identification cards. Further, it does not
appear that Virginia Skye Walters Willis, Robin Marshall, or Mary Daniel ever served in the classified state police
service therefore, there are no records concerning these individuals at LPSC.”). R. Doc. 104, p. 2.
10
   Fed. R. Civ. Proc. 45(d)(3)(A)(iv).
                                                           2
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constitutes LPSC’s timely response to the subpoenas—i.e., that LPSC does not have responsive

documents.

           The Motion was timely filed within just one day after receipt of the subpoenas, and before

the date the subpoenas commanded production of the information sought. Plaintiff has not filed

any opposition memorandum to the Motion, and, for the reasons outlined above, there appears to

be good cause to grant the Motion.

           Accordingly,

           IT IS ORDERED that the Motion to Quash Subpoenas to Produce Documents,

Information, or Objects or to Permit Inspection of Premises in a Civil Action (the “Motion”),11

filed on behalf of Jason Hannaman, Executive Director of Louisiana State Police Commission, is

GRANTED and the subpoenas, propounded by Plaintiff Stacey Williams and dated November 2,

2020 (R. Doc. 104-1), are QUASHED.

           IT IS FURTHER ORDERED that the Clerk shall serve notice of this Ruling and Order

on Plaintiff Stacey Williams by certified mail return receipt requested at her address of record on

PACER.

           Signed in Baton Rouge, Louisiana, on January 14, 2021.


                                                S
                                                ERIN WILDER-DOOMES
                                                UNITED STATES MAGISTRATE JUDGE




11
     R. Doc. 104.
                                                   3
